E N OPEN COURT
Case 2: 03- --cr 20228- .]DB Document 56 Filed 06/30/05 Page 1 ofr;"' F%gle|g!%%°/‘§

DATE'
UN|TED STATES DlSTR|CT COURT

 

wEsTERN DlsTRlcT oF TENNEssEE T\ME= / ' 35 P M 1.
MF.MPHls DlvlsloN mmALS, §§ ;
uNlTED sTATEs oF AMERicA
.v. 03-20223-1-5
JAcQuELlNE cARoL YAGAR Ned eermany, FPD

Defense Attorney
200 Jefferson, Suite 200
Memphis, TN 38103

 

*AMENDED* JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on September 18, 2003.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section MQF_QEM_S€ Offense Number
Conc|uded
18 USC § 102B(a)(7) identity Theft 04/18/2002 2

`l'he defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the lV|andatory
Victims Restitution Act of 1996

Counts 1,3,4,5 and 6 dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 04/10/1961 June 30. 2005
Deft’s U.S. Marsha| No.: 19079-076

Defendant's Mailing Address:
130 West Viking
Cordova, TN 38018

Defendant's Residence Address:
130 West Viking
Cordova, TN 38018

 

_ l. J. DAN|EL BREEN
Tth document entered on the docket ama N|TED STATES DlSTR|CT JUDGE
with Flule 55 and}or 32{b) FRCrP on , June 3 0 , 2005

gte

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Case No: 030r20228 Defendant Name: Jacque|ine Carol ¥agar Page 2 of 6

lMPRlSONMENT
The defendant is hereby committed to the custody ot the United States Bureau of
Prisons to be imprisoned for a term of *Time Served* (3/19/04 through 6/30/05) under
count 2 of the indictment
The Court recommends to the Bureau of Prisons:
1. Comprehensive Drug Treatment Program

2. A Facility close to the Memphis area as possible

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy ot this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 030r20228 Defendant Name: Jacqueline Caro| Yagar Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed. or administered;

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Case No: 03cr20228 Defendant Name: Jacquellne Carol Yagar Page 4 of 6

8. The defendantshall not associate with any persons engaged in criminal activity. and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ocher;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ofticer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal Nlonetary Penalties sheet of this judgment

ADD|T|ONAL CONDITiONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall maintain employment and shall participate in substance abuse
treatment and testing as deemed appropriate by the probation oftice.

2. The defendant shall notify the Court and the United States Attomey of any material change
in economic circumstances that might affect the defendants ability to pay restitution.

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Case No: 03cr20228 Defendant Name: Jacquellne Carol Yagar Page 5 of 6

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments in the
amount of 10% of gross income(tota| income from all sources before
deductions, exemptions or other tax reductions.) |NTEREST lS WA|VED

Uniess the court has expressly ordered othenNise in the special instructions above, if thisjudgment
imposes a period of imprisonmentl payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation ocher, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

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Case No: 03cr20228 Defendant Name: Jacquellne Carol Yagar Page 6 of 6

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Total Restitution
$100.00 $20,987.15

The Specia| Assessment shall be due immediate|y.
FiNE

No fine imposed.

RESTITUT|ON

Restitution in the amount of $20,987.15 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed beiow.

TO BE PROV|DED BY THE PROBAT|ON OFFICE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:03-CR-20228 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
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Ste. 200

Memphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

